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IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DISTRIcT oF TENNESSEE cswgygg PH §:25
wEsTERN DIvIsIoN

 

 

JAMES sTEPHEN BRowN,
Plaintiff,
V.

No. 02~2791 Ml/An

KEITH T. sIEBERT,

v‘h-IV\_¢V~_'~_¢'-fv

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR JUDGMENT AS A MATTER OF LAW
AND MOTION FOR NEW TRIAL

 

Before the Court is Defendant’s Motion for Judgment as a
Matter of Law and Motion for New Trial, filed March 9, 2005.
Plaintiff did not respond to Defendant’s motion. For the
following reasons, Defendant's motion is DENIED.

The instant case arose out of Plaintiff’s apprehension and
arrest by officers of the Memphis Police Department following a
police pursuit during which Plaintiff attempted to evade the
police and eventually crashed his vehicle into a tree. Plaintiff
originally asserted claims of excessive force pursuant to 42
U.S.C. § 1983 against all Defendants and assault and battery
under Tennessee law against the individual officer Defendants.
Prior to trial, Plaintiff’s claims against Defendants the City of

Memphis, Mayor W.W. Herenton and Director of the Memphis Police

This document entered on the docket sheet in compliance
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Department W.E. Crews were dismissed. (See Order Granting Def.
City of Memphis' Mot. for Summ. J. and Dismissing Def. Herenton
and Def. Crews, September 30, 2004 (Docket No. 67).) A trial was
held in this case on February l4-18, 2005. At the close of
evidence, the Court granted the oral motions for judgment as a
matter of law of all of the individual officer Defendants except
Officer Siebert. (See Order Confirming Grant of Oral Mots. for
J. as a Matter of Law by Defs. Locastro, Davenport, Ray, and
McGaughy, March l, 2005 (Docket No. 91).) On February l?, 2005,
the Jury was charged and began its deliberations regarding
Plaintiff’s two remaining claims against Officer Siebert -
excessive force under 42 U.S.C. § 1983, and assault and battery

under Tennessee law.1

On February 18, 2005, the Jury returned a
verdict finding Defendant Officer Siebert liable under 42 U.S.C.
§ 1983 for using excessive force in apprehending the Plaintiff,

but not liable under Tennessee law for perpetrating an assault

and battery on Plaintiff.2

 

1 In addition to the oral charge, the Jury was provided with

a printed copy of the instructions to use during their
deliberations. (February l?, 2005, Jury Instructions (Docket No.
100).)

2 Specifically, the Jury responded “yes” to the question
“[h]as the plaintiff proven by a preponderance of the evidence
that defendant KEITH T. SIEBERT used excessive force against him
on October lS, 2001, in violation of his federally protected
rights?” and “no” to the question “[h]as the plaintiff proven by
a preponderance of the evidence that defendant KEITH T. SIEBERT
is liable for assault and battery on the plaintiff?” (Jury
Verdict Form (Docket No. 86), Question Nos. l and 2.)

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Siebert liable under 42 U.S.C. § 1983 for using excessive force
in apprehending the Plaintiff, but not liable under Tennessee law
for perpetrating an assault and battery on Plaintiff.2

The Jury originally awarded $0.00 in damages regarding
Plaintiff's § l983 claim. (Jury Verdict Form, Question No. 3.)3
The Court subsequently provided the Jury with a supplemental
instruction with respect to nominal damages and instructed the
Jury to continue its deliberations.4 The Jury then returned a

supplemental verdict awarding Plaintiff nominal damages of $l.OO

 

2 Specifically, the Jury responded “yes” to the question
“[h]as the plaintiff proven by a preponderance of the evidence
that defendant KEITH T. SIEBERT used excessive force against him
on October 18, 2001, in violation of his federally protected
rights?” and “no” to the question “[h]as the plaintiff proven by
a preponderance of the evidence that defendant KEITH T. SIEBERT
is liable for assault and battery on the plaintiff?” (Jury
Verdict Form (Docket No. 86), Question Nos. l and 2.)

3 Specifically, in response to the question “[u]nder the
laws given to you in these instructions, state the amount of
compensatory damages, if any, that plaintiff JAMES STEPHEN BROWN
should be awarded from the defendant KEITH T. SIEBERT,” the Jury
responded as follows:

Medical Expenses: $0
Lost Wages: $O
Compensatory Damages(other

than medical expenses): $0

(Jury Verdict Form, Question No. 3.)

4 The Court’s supplemental instruction was as follows:
lf you return a verdict for the Plaintiff, but find
that the Plaintiff has failed to prove by a
preponderance of the evidence that he suffered any
actual damages, then you must return an award of
damages in some nominal or token amount not to exceed
the sum of one dollar.

(February 18, 2005, Supp'l Instruction (Docket No. lOl).)

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contends that the Jury could not have reasonably found Defendant
Officer Siebert not liable for perpetrating an assault and
battery under Tennessee law and liable pursuant to 42 U.S.C. §
1983 for having used excessive force in apprehending Plaintiff.
Defendant also contends that there was not sufficient evidence to
support the Jury's verdict, and that Defendant is entitled to
qualified immunity.

The Court may grant judgment as a matter of law under
Federal Rule of Civil Procedure 50 if a party has been “fully
heard on an issue and there is no legally sufficient evidentiary
basis for a reasonable jury to find for that party on that
issue....” Fed. R. Civ. P. 50. “Judgment as a matter of law may
only be granted if, when viewing the evidence in a light most
favorable to the non-moving party, giving that party the benefit
of all reasonable inferences, there is no genuine issue of
material fact for the jury, and reasonable minds could come to
but one conclusion in favor of the moving party.” Barnes v. City
of Cincinnati, 401 F.3d 729, 736 (6th Cir. 2005)(citations
omitted).

The authority to grant a new trial under Rule 59 rests
within the discretion of the trial court. Allied Chemical Corp.

v. Daiflonc lnc., 449 U.S. 33, 36 (1980); Montgomery Ward & Co.

v. Duncan, 311 U.S. 243, 251 (1940). “[A] new trial is warranted

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when a jury has reached a seriously erroneous result

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Strickland v. Owens Corning, 142 F.3d 353, 357 (6th Cir. 1998).
A “seriously erroneous result” is shown by: “(1) the verdict
being against the weight of the evidence; (2) the damages being
excessive; or (3) the trial being unfair to the moving party in
some fashion, i.e., the proceedings being influenced by prejudice
or bias.” Holmes v. CitV of Massillon, 38 F.3d 1041, 1045-46
(6th Cir. 1996). Here, Defendant contends that the Jury’s
verdict was inconsistent and against the weight of the evidence.
When a motion for new trial asserts that the Jury’s verdict
is inconsistent, the trial Court must attempt “to reconcile [the
verdict] if possible under any view of the evidence in the case.”
See Waggoner v. Mosti, 792 F.2d 595, 59? (6th Cir.
1986)(citations omitted)(finding trial court must attempt to
reconcile jury's purportedly inconsistent answers to special
interrogatories pursuant to Federal Rule of Civil Procedure
49(b)).6 See also U.S. v. Alpine Indus., 352 F.3d 1017, 1026 (6th
Cir. 2003)(“[w]hen requested, a trial court faced with an
apparent inconsistency between a jury's answers and the court's
instructions must attempt to reconcile the two.”). When ruling
on a motion for a new trial based upon the ground that the

verdict is against the weight of the evidence:

 

6 Although the Waggoner Court described these standards in
the context of the consistency of a jury's answers to special
interrogatories pursuant to Rule 49(b), the Court finds that
these standards apply equally where, as here, the Jury returned a
general verdict with respect to each of Plaintiff’s claims.

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[T]he trial court must compare the opposing
proofs, weigh the evidence, and set aside the
verdict if it is of the opinion that the
verdict is against the clear weight of the
evidence. lt should deny the motion if the
verdict is one which could reasonably have
been reached, and the verdict should not be
considered unreasonable simply because
different inferences and conclusions could
have been drawn or because other results are
more reasonable.

Strickland, 142 F.3d at 357 (quoting Holmes, 78 F.3d at 1045-46).
The Court first addresses Defendant's contention that the
Jury's verdict was inconsistent. The fact that the Jury found
Defendant Officer Siebert liable for the use of excessive force
and not liable for assault and battery does not necessarily
indicate that the Jury’s verdict was inconsistent. Seec e.g.,
Waggoner, 792 F.2d at 597 {finding jury verdict consistent where
defendant found liable for excessive force but not liable for
j Frohmuth v. Metro. Gov't of

state law assault and battery);

Nashville and Davidson Countv, Tenn., No. 02-6284, 101 Fed. Appx.

 

? ln Waggoner, the United States Court of Appeals for the

Sixth Circuit found that the jury's verdict was not inconsistent
because the jury instructions regarding the plaintiff's § 1983
claim did not require the plaintiff to prove that the defendants
intended to harm the plaintiff, but the instructions regarding
plaintiff’s State law assault and battery claims did require such
an intent, and because the jury instructions allowed for the jury
to have reasonably found that excessive force was used while the
plaintiff was in police custody subsequent to the plaintiff’s
arrest, whereas the plaintiff's assault and battery claims
related only to conduct which occurred at the time of plaintiff's
arrest. Waggoner, 792 F.2d at 597.

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56, 2004 WL 1238919 at *3 (6th Cir. June 3, 2004)(same).8
Rather, the consistency of a jury's verdict must be considered in
light of the Court's instructions to the jury. Waggoner, 792
F.2d at 597.

With respect to Plaintiff's § 1983 claim, the Court
instructed the Jury regarding the three elements that Plaintiff
needed to prove in order to succeed on his § 1983 claim:

First, that the conduct complained of was committed by
a person acting under color of state law;

Second, that this conduct deprived plaintiff of rights,
privileges or immunities secured by the Constitution or
laws of the United States (i.e., the right to be free
from the use of excessive force); and

Third, that the defendant's acts were the proximate
cause of the injuries and consequent damages sustained
by the plaintiff.

(February 17, 2005, Jury Instructions (Docket No. 100).) With
respect to the second element, the Court instructed the Jury, in
relevant part, as follows:
ln order for the plaintiff to establish the second
element, he must show these things by a preponderance
of the evidence: first, that the defendant committed

the acts alleged by the plaintiff; second, that those
acts caused plaintiff to suffer the loss of a federal

 

gln Frohmuth, the Sixth Circuit affirmed the district
court's determination that the jury's verdict was not
inconsistent because the Court’s instruction regarding the
assault and battery claim, but not the § 1983 claim, required a
finding that the defendant caused bodily injuries to the
plaintiff. Frohmuth, 2004 WL 1238919 at *3. Therefore, the jury
in Frohmuth may have concluded that mental anguish allegedly
suffered by the plaintiff formed the basis for the jury's verdict
on that claim. ld;

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right (i.e., the right to be free from excessive
force); and, third, that actions of the defendant were
unreasonable under the circumstances.
(ld.) The Court's instructions to the Jury did not require the
Jury to find that Plaintiff had proven by a preponderance of the
evidence that he had suffered actual compensable damages as a
result of the constitutional deprivation in order to find Officer
Siebert liable under § 1983.9 Rather, the Jury was later
instructed with respect to damages that:
You shall award actual damages only for those injuries
which you find that plaintiff has proven by a
preponderance of the evidence. Moreover, you shall
award actual damages only for those injuries which you
find plaintiff has proven by a preponderance of the

evidence to have been the direct result of conduct of
the defendant.

Consistent with those instructions, the Jury Verdict Form
separated the issues of liability and damages regarding
Plaintiff’s § 1983 claim into two questions. First, the Jury was
asked: “Has the plaintiff proven by a preponderance of the
evidence that defendant KEITH T. SIEBERT used excessive force
against him on October 18, 2001, in violation of his federally
protected rights?” (Jury Verdict Form, Question No. 1.) The Jury
responded “Yes” to that question. (ld.) Subsequently, the Jury

was asked: “Under the laws given to you in these instructions,

 

9 Although the instructions mention “injuries and
consequential damages,” the term “injury” refers, at least in
part, to the constitutional deprivation.

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state the amount of compensatory damages, if any, that plaintiff
JAMES STEPHEN BROWN should be awarded from the defendant KEITH T.
SIEBERT.” (ld., Question-No. 3.) The Jury answered $0 regarding
medical expenses, lost wages, and compensatory damages (other
than medical expenses)(ld.); only after receiving a supplemental
instruction regarding nominal damages was $1 awarded in nominal
damages. (Supp'l Jury Verdict Form.)

With respect to Plaintiff’s claim of assault and battery
under Tennessee law, the second question in the Jury Verdict Form
was: “[h]as the plaintiff proven by a preponderance of the
evidence that defendant KEITH T. SIEBERT is liable for assault
and battery on the plaintiff?” (Jury Verdict Form, Question No.
2.) The Jury instructions on assault and battery also included
the following specific instruction: “[a] plaintiff who has
suffered any bodily harm legally caused by an assault and battery
by a defendant is entitled to recover compensation for such
injury from that defendant.” (February 17, 2005, Jury
lnstructions.) The Court's instruction regarding assault and
battery, therefore, required Plaintiff to prove by a
preponderance of the evidence that he had suffered “bodily harm
legally caused by an assault and battery.” Accordingly,
Plaintiff was required to prove the existence of actual damages

as an element of the assault and battery claim, unlike his § 1983

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claim where the constitutional deprivation would suffice for a
finding of liability.

Thus, an examination of the Jury instructions, the specific
questions contained in the Jury Verdict Form, as well as the
answers provided by the Jury, clearly demonstrates that the Jury
verdict is consistent and reflects careful attention by the Jury
to the instructions provided to them. The fact that an
affirmative answer to the first question on the verdict form did
not require a determination that Plaintiff had proven by the
preponderance of the evidence physical or emotional damages
resulting from the deprivation of constitutional rights, while an
affirmative answer in connection with the second question on the
verdict form concerning assault and battery did require such a
determination, explains the Jury's verdict in this case. The
Jury may reasonably have found that the first two elements of the
§ 1983 claim were present (i.e. that the Defendant was acting
under color of state law and that Plaintiff had demonstrated by a
preponderance of the evidence that excessive force was used in
his detention), but that Plaintiff had failed to prove by a
preponderance of the evidence any of the three specific
categories of damages as set out in question number three on the
verdict form. The Jury was then given a supplemental instruction
requiring the Jury to return a verdict of $1.00 in nominal

damages regarding Plaintiff’s § 1983 claim, because Plaintiff had

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demonstrated the existence of a constitutional deprivation, but
failed to prove by the preponderance of the evidence damages
resulting therefrom.

The Jury, when confronted with the second question on the
verdict form relating to liability for assault and battery, was
instructed that liability could exist only in the event that
Plaintiff had shown that he had suffered bodily harm legally
caused by an assault and battery. ln that regard, the Jury
clearly found that Plaintiff had failed in his burden of proof
and thus answered question number two “no.”

The Court next addresses whether the Jury's verdict was
against the weight of the evidence. Defendant contends that he
is entitled either to judgment as a matter of law or to a new
trial because there was insufficient evidence to support the
verdict in this case and because he is entitled to qualified
immunity. Having reviewed the entire record, compared the
opposing proofs, and weighed the evidence, the Court finds that
the Jury’s verdict is one which could reasonably have been

reached.10 Accordingly, Defendant is not entitled to a new

 

w Additionally, the Jury’s finding that Defendant was
liable for the use of excessive force contradicts his claim of
qualified immunity. See Poe v. Havdon, 853 F.Zd 418, 423 (6th
Cir. 1988)(“Government officials performing discretionary
functions are afforded qualified immunity, shielding them from
civil damages, as long as their conduct does not violate clearly
established statutory or constitutional rights of which a
reasonable person would have known.”). The Court therefore finds
that Defendant is not entitled to qualified immunity.

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trial. Moreover, viewing the evidence in the light most
favorable to the Plaintiff and giving Plaintiff the benefit of
all reasonable inferences, the Court finds that Defendant is not
entitled to judgment as a matter of law with respect to
Plaintiff’s claims against him.

Accordingly, Defendant's motion for judgment as a matter of

law or, in the alternative, for a new trial is DENIED.

so eastern this §§ day ar May, 2005.

988th

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:02-CV-02791 Was distributed by fax, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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